






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00525-CR






The State of Texas, Appellant




v.




Alex Garcia Guzman, Appellee







FROM THE DISTRICT COURT OF HAYS COUNTY, 22ND JUDICIAL DISTRICT


NO. CR-03-623, HONORABLE JAMES F. CLAWSON, JR., JUDGE PRESIDING






O P I N I O N



The State appeals orders sustaining appellee Alex Garcia Guzman's plea of former
jeopardy and dismissing the indictment in this cause.  See Tex. Code Crim. Proc. Ann. art.
44.01(a)(1), (4) (West Supp. 2005).  The question presented is whether Guzman's previous
conviction for driving while intoxicated (DWI) is a double jeopardy bar to the instant prosecution
for endangering a child.  We hold that it is not and reverse the district court's orders.

The Fifth Amendment guarantee against double jeopardy is enforceable against the
states through the Fourteenth Amendment.  Benton v. Maryland, 395 U.S. 784, 787 (1969).  That
guarantee protects against a second prosecution for the same offense after a conviction or an
acquittal, and against multiple punishments for the same offense.  North Carolina v. Pearce, 395
U.S. 711, 717 (1969). (1)  

Whether offenses defined in two distinct statutory provisions are the same for double
jeopardy purposes is determined by a "same elements" test: the two offenses are the same if one of
the offenses contains all the elements of the other; they are not the same if each offense has a unique
element.  Blockburger v. United States, 284 U.S. 299, 304 (1932); Duvall v. State, 59 S.W.3d 773,
777 (Tex. App.--Austin 2001, pet. ref'd).  When applying the "same elements" test in the successive
prosecutions context, we compare the elements of the offenses as alleged in the charging
instruments.  State v. Perez, 947 S.W.2d 268, 270 (Tex. Crim. App. 1997); Parrish v. State, 869
S.W.2d 352, 354 (Tex. Crim. App. 1994).  If, as alleged, one offense is included within the other,
the two offenses are the same for double jeopardy purposes.  Parrish, 869 S.W.2d at 354-55. 

The indictment in this cause alleges that on or about July 13, 2003, Guzman:


intentionally, knowingly, recklessly and with criminal negligence engage[d] in
conduct that placed ALBIN GUZMAN, a child younger than 15 years, in imminent
danger of death, bodily injury or physical or mental impairment, to wit: the said
ALEX GARCIA GUZMAN did then and there drive and operate a motor vehicle
while intoxicated, namely: the said ALEX GARCIA GUZMAN did then and there
have an alcohol concentration of 0.08 or higher and the said ALEX GARCIA
GUZMAN did not have the normal use of his physical or mental faculties by reason
of the introduction of alcohol into his body, and the said ALEX GARCIA GUZMAN
did then and there drive and operate said motor vehicle while intoxicated while the
aforesaid ALBIN GUZMAN was then and there a passenger in said vehicle.



See Tex. Pen. Code Ann. § 22.041(c) (West Supp. 2005). (2)  Guzman filed a special plea of former
jeopardy urging that prosecution on this indictment is barred by his misdemeanor DWI conviction
in Hays County cause number 71,070.  See Tex. Code Crim. Proc. Ann. art. 27.05 (West 1989). 
Attached to the special plea were certified copies of the complaint, information, and judgment of
conviction in that cause.  These documents reflect that Guzman was convicted by the county court
at law following his plea of no contest to an information alleging that, on or about July 13, 2003, he:


while operating a motor vehicle in a public place was then and there intoxicated in
that the said Alex Garcia Guzman did not have the normal use of his or her mental
or physical faculties by reason of the introduction of alcohol, a controlled substance,
a drug, or a combination of two or more of these substances into his or her body, or
by reason of having an alcohol concentration of 0.08 or more.



See Tex. Pen. Code Ann. § 49.04 (West 2003).  It was undisputed that the DWI for which Guzman
was convicted and the child endangerment of which he now stands accused arise out of the same
transaction.  The court sustained the special plea after considering the arguments of both parties. (3) The trial court expressly relied on two opinions cited by Guzman at the hearing: May
v. State, 726 S.W.2d 573 (Tex. Crim. App. 1987), and Ex parte Peterson, 738 S.W.2d 688 (Tex.
Crim. App. 1987).  In May, the court of criminal appeals held that the defendant's DWI prosecution
was barred by his previous conviction for involuntary manslaughter arising out of the same
automobile accident.  726 S.W.2d at 577.  In Peterson, the court held that the defendant's
prosecution for involuntary manslaughter was barred by his previous DWI conviction.  738 S.W.2d
at 691. (4)  In both opinions, the court went beyond the Blockburger "same elements" test and applied
an additional "same conduct" test.  May, 726 S.W.2d at 576; Peterson, 738 S.W.2d at 691; see
Grady v. Corbin, 495 U.S. 508, 521 (1990) (subsequent prosecution barred if government, to prove
essential element of offense, will prove conduct constituting offense for which defendant has already
been prosecuted).  The "same conduct" test has been repudiated by the Supreme Court.  United
States v. Dixon, 509 U.S. 688, 704-08, 712 (1993) (overruling Grady v. Corbin and reaffirming that
"same elements" is only test for determining whether two different statutory offenses are the same
for double jeopardy purposes).  Whether May and Peterson retain any vitality is an open question,
but it is clear that the "same conduct" analysis used in those opinions does not.  Id.; see Ortega v.
State, 171 S.W.3d 895, 898-99 (Tex. Crim. App. 2005) (holding that court of appeals erred by
employing "same conduct" analysis); Ervin v. State, 991 S.W.2d 804, 806 &amp; n.3 (Tex. Crim. App.
1999) (noting that Peterson used "same conduct" analysis repudiated in Dixon).

The child endangerment indictment in this cause requires the State to prove that
Guzman intentionally, knowingly, recklessly, or with criminal negligence placed a child under fifteen
in imminent danger of death, bodily injury, or physical or mental impairment.  Such proof was not
required in the DWI prosecution.  To convict Guzman of DWI, the State was required to prove that
Guzman operated a motor vehicle in a public place.  Such proof is not required by the instant
indictment.  As alleged, both offenses have a unique element, and the DWI offense is not included
within the proof required to establish the child endangerment offense.  Applying the
Blockburger/Parrish "same elements" test, we conclude that the two offenses are not the same and
that Guzman's conviction for DWI in cause number 71,070 does not constitute a double jeopardy
bar to his prosecution in this cause for endangering a child.

The orders sustaining Guzman's special plea of former jeopardy and dismissing the
indictment are reversed, and the cause is remanded to the district court.



				__________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices Patterson and Puryear

Reversed and Remanded

Filed:   December 8, 2005

Publish
1.        In his special plea and arguments to the trial court, Guzman relied solely on the Fifth
Amendment and opinions applying it.  Guzman did not file a brief in this Court.  
2.      	The alleged offense was committed before the effective date of penal code section 49.045,
proscribing driving while intoxicated with a child passenger.  Tex. Pen. Code Ann. § 49.045
(West Supp. 2005).  Whether Guzman's DWI conviction would constitute a double jeopardy bar
to a subsequent prosecution under this statute is not an issue in this cause.
3.      	The records from cause number 71,070 were not formally introduced in evidence at the
hearing&nbsp;on the special plea.  They were, however, discussed by counsel and considered by the
court.  The State did not object to the format of the hearing.  See Hill v. State, 90 S.W.3d 308,
312 (Tex. Crim. App. 2002); State v. Torres, 805 S.W.2d 418, 421 (Tex. Crim. App. 1991).
4.        The involuntary manslaughter offense at issue in May and Peterson is now defined as
intoxication manslaughter.  See Act of May 28, 1973, 63d Leg., R.S., ch. 426, art. 2, § 1, sec.
19.05(a)(2), 1973 Tex. Gen. Laws 1122, 1124 (amended and renumbered 1993) (current version at
Tex. Pen. Code Ann. § 49.08 (West 2003)).


